      Case 5:10-cv-00804-JKG Document 185-1 Filed 01/27/15 Page 1 of 14




                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

HAWK VALLEY, INC., a Pennsylvania                )
Corporation, individually and as the             )
representative of a class of similarly-          )
situated persons,                                ) No. 5:10-cv-00804
                                                 )
                           Plaintiff,            ) Judge James Knoll Gardner
             v.                                  )
                                                 ) Magistrate Henry S. Perkin
ELAINE G. TAYLOR,                                )
ENVIRONMENTAL PROCESS                            )
SYSTEMS INC., and JOHN DOES 1-10,                )
                                                 )
                           Defendants.           )


               MEMORANDUM IN SUPPORT OF PLAINTIFF’S
            UNOPPOSED MOTION FOR PRELIMINARY APPROVAL
        OF CLASS ACTION SETTLEMENT AND NOTICE TO THE CLASS

      Plaintiff,   Hawk    Valley,      Inc.   (“Plaintiff”)   individually   and   as   the

representative of a certified class of similarly-situated persons (the “Class”),

submits this memorandum of law in support of its Motion for Preliminary Approval

of Class Action Settlement and Notice to the Class.

A.    BACKGROUND

      1.     Plaintiff’s Class Action Complaint action seeks to recover damages for

alleged violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 (the

“TCPA”), by defendants, Elaine G. Taylor and Environmental Process Systems, Inc.

(“Defendants”). Plaintiff alleges that Defendants sent unsolicited advertisements by

facsimile to Plaintiff and others in 2006.

      2.     On March 31, 2014, after extensive briefing by the parties and an

evidentiary hearing, the Court certified a class pursuant to Fed. R. Civ. P. 23 (a)


                                           4
         Case 5:10-cv-00804-JKG Document 185-1 Filed 01/27/15 Page 2 of 14




and (b) (3). Doc. 142.

         3.    Thereafter, through court-ordered mediation with the Honorable

Magistrate Judge Henry S. Perkin and arm’s-length negotiations, the parties

reached an agreement to settle the claims of Plaintiff and the class as set forth in

the Agreement attached as Exhibit A.

         4.    At the time the allegedly unsolicited advertisements were sent,

Harleysville Mutual Insurance Company (“Harleysville”) insured Defendants.

Nationwide Mutual Insurance Company (“Nationwide”) succeeded to certain of

Harleysville’s rights and responsibilities by merger. Nationwide has agreed to fund

this settlement on Defendants’ behalf.

         5.    As described below, Nationwide has agreed to make money available to

pay claims submitted by class members, to pay an incentive award to Plaintiff for

services rendered as the class representative, to pay attorneys fees and expenses to

Plaintiff’s counsel for legal services rendered on behalf of the class, and to pay a

third-party administrator to notify the class, handle the claims, and disburse the

funds.

B.       SUMMARY OF SETTLEMENT

         6.    The Agreement’s primary terms are as follows:

               a.     Class Certification. For settlement purposes only, Defendants

         have agreed to certification of a class of persons defined in a substantially

         similar way to how the Court defined the class in its order of March 31, 2014:

         “All persons sent one or more faxes on or about June 17, 2006 from

         ‘Environmental Process Systems, Inc.’ that advertised ‘EPSI’s Grass Grab-er’


                                          5
Case 5:10-cv-00804-JKG Document 185-1 Filed 01/27/15 Page 3 of 14




as a ‘New way to treat your equipment wash water.’” Compare Doc. 142 with

Agreement ¶ 2 (only substituting “on or about” for “on”).

      b.     Class Representation. For settlement purposes only, Defendants

have consented to Plaintiff’s appointment as the “Class Representative” and

to the appointments of Phillip A. Bock of Bock & Hatch, LLC, Brian J. Wanca

of Anderson + Wanca, and Alan C. Milstein of Sherman, Silverstein, Kohl,

Rose & Podolsky, P.A. as “Class Counsel.” Agreement ¶ 3.

      c.     The Settlement Administrator. Defendants have agreed to hire

an   independent    third-party       claims   administrator   (the   “Settlement

Administrator”) that will notify the class members about the settlement,

assist them in completing and submitting their claim forms, approve the

valid claims and reject any that are invalid, and send payments to the class

members who submit the valid claims. Agreement ¶ 7. Nationwide will pay

the Settlement Administrator for its services and fund the payments to the

class members, along with the other payments required under the

Agreement. Id.

      d.     Notice to the Class. The Parties will cause the Settlement

Administrator to notify the class members about the settlement by sending a

facsimile to the fax numbers the fax broadcaster targeted in 2006 and

identified in the Expert Report of Robert Biggerstaff (“the Biggerstaff

Report”) previously filed with the Court. Agreement ¶ 8. The parties’

proposed class notice is attached to the Agreement as Exhibit 2 and a proof of




                                  6
Case 5:10-cv-00804-JKG Document 185-1 Filed 01/27/15 Page 4 of 14




claim form (discussed below) will be attached to it. For any notice

transmission that is unsuccessful after three attempts by facsimile, the

Settlement Administrator will send the notice by mail to the name and

address that was associated with the subject fax number in the 2006

broadcaster’s records, as specified by Robert Biggerstaff. Id. The notice will

be sent on or before March 6, 2015, or otherwise when instructed by the

Court. Id.

       e.     The Proof of Claim Form. The parties have been unable to agree

about whether the Proof of Claim should require that a claimant state its tax

identification number; Plaintiff says no but Defendants say yes. Agreement ¶

9. To bridge this final gap, the parties agreed that the Court could decide

which of two Proof of Claim forms will be used. Plaintiff’s proposed Proof of

Claim is attached as Exhibit B and Defendants’ proposal is attached as

Exhibit C. Plaintiff and Defendants have reserved all rights to argue to the

Court in favor of their respective preferred claim form. The Proof of Claim

will be attached to the class notice and class members will have 45 days from

the Court-ordered deadline for issuing Notice to submit their claims. The

Settlement Administrator will reject as untimely any claim submitted after

the 45-day period expires; claims submitted after this 45 days date shall be

forever barred.

       f.     Monetary Relief to the Members of the Class. To each member of

the   class   who   submits   an   approved   Claim   Form,   the   Settlement




                                   7
Case 5:10-cv-00804-JKG Document 185-1 Filed 01/27/15 Page 5 of 14




Administrator will mail a check in the amount of $278.38 for each of

Defendants’ faxes that were sent to the claimants’ fax numbers, as

established by the Biggerstaff Report. Agreement ¶ 10. This is more than

50% of the statutory damage award a person can receive under the TCPA, 47

U.S.C. 227 (b) (3) and Nationwide has agreed to pay, subject to the terms of

the Agreement, the Settlement Administrator, Plaintiff’s incentive award,

and Plaintiff’s counsel’s fees and expenses in addition to the claims

payments.

      g.    Class Members’ Rights to Object to the Settlement or Opt Out of

the Class. As stated in the class notice, any member of the class may seek to

be excluded from the Agreement and the settlement by opting out of the class

within the time period set by this Court. Any class member who opts out of

the class shall not be bound by any prior Court order or the terms of the

Agreement and shall not be entitled to any of the monetary benefits set forth

in the Agreement. Agreement ¶¶ 14, 16, 22.

      h.    Release. In exchange for the relief provided by the settlement,

and as defined in the Agreement, the class members who do not opt out of the

settlement will release all claims that were brought or could have been

brought against Defendants, Nationwide, and the other released parties

regarding the facsimiles at issue. Agreement ¶ 14.

      i.    Incentive Award and Attorney’s Fees and Costs. As part of the

final “fairness” hearing currently scheduled for August 6, 2015, Class




                                8
Case 5:10-cv-00804-JKG Document 185-1 Filed 01/27/15 Page 6 of 14




Counsel will petition the Court to approve Nationwide’s agreement, subject to

the Court’s approval, to pay Plaintiff $15,000 as an incentive award for

serving as the class representative, and Nationwide’s agreement, subject to

the Court’s approval, to pay Plaintiff’s counsel attorneys’ fees equal to

$667,000.00, plus reasonable out-of-pocket expenses not to exceed $40,000.00.

Agreement ¶ 12.

      j.     Notices required by the Class Action Fairness Act. Within 10

days after the Agreement is filed with the Court, Defendants’ counsel will

cause the notice of the settlement required by the Class Action Fairness Act,

28 U.S.C. 1715 (b) (“CAFA”), to be issued to the Attorney General for the

United States, as well as the attorneys general of Alaska, Alabama,

Arkansas, Connecticut, Delaware, District of Columbia, Florida, Georgia,

Hawaii, Illinois, Indiana, Kentucky, Louisiana, Maine, Massachusetts,

Maryland, Michigan, Mississippi, Missouri, New Hampshire, New Jersey,

New York, North Carolina, Ohio, Pennsylvania, Rhode Island, South

Carolina, Tennessee, Virginia, Vermont, and West Virginia. Agreement ¶ 6.

Based upon the records of the fax broadcaster who sent the fax

advertisements at issue in the litigation, the class members are believed to

reside in these various states.

      k.     Right to Rescind. As provided in the Agreement at paragraph

19, any Party shall have the right, but not the obligation, to void or rescind

the Agreement if any of the following events occurs: (a) the Court does not




                                  9
      Case 5:10-cv-00804-JKG Document 185-1 Filed 01/27/15 Page 7 of 14




      preliminarily approve the settlement without material modifications to this

      Agreement; (b) there are material modifications made to the Agreement by

      the Court, by any other court, or by any tribunal, agency, entity, or person

      that are not accepted by any Party; (c) any objection to the settlement is

      sustained by the Court, regardless of any right to appeal; or (d) for any other

      reason the exercising Party or Signatory deems appropriate in its sole

      discretion. Agreement ¶ 19. The right to void or rescind under subparagraphs

      (a) or (d) must be exercised, if at all, no later than 14 days before the date

      identified in the class notice as the date of the final approval hearing, or else

      the Parties agree that any attempted rescission shall be without effect. Id.

      Rescission or setting aside is effective only if and when notice of same is filed

      with the Court and on counsel of record. Id. In the event that a Party chooses

      to exercise its right to rescind, the Agreement shall be deemed void ab initio

      and the Parties shall be deemed to be in the same position as existed prior to

      its execution. Id.

             l.     Remainder. As indicated in the Agreement, checks issued to the

      Class members will be void 181 days after issuance; any funds from void

      checks will be returned to Nationwide. Agreement ¶ 13.

C.    THE COURT SHOULD PRELIMINARILY APPROVE THE SETTLEMENT.

      7.     “The law favors settlement, particularly in class actions and other

complex cases where substantial judicial resources can be conserved by avoiding

formal litigation.” In re Gen. Motors Corp. Pick–Up Truck Fuel Tank Prods. Liab.

Litig., 55 F.3d 768, 784 (3d Cir.1995); see also Newberg on Class Actions § 11.41

                                       10
      Case 5:10-cv-00804-JKG Document 185-1 Filed 01/27/15 Page 8 of 14




(Fourth) (2002) (“The compromise of complex litigation is encouraged by the courts

and favored by public policy.”). There is a “strong presumption in favor of voluntary

settlement agreements.” Sullivan v. DB Investments, Inc., 667 F.3d 273, 311 (3d

Cir. 2011) (citing Ehrheart v. Verizon Wireless, 609 F.3d 590, 594 (3d Cir. 2010)).

“This presumption is especially strong in class actions and other complex cases ...

because they promote the amicable resolution of disputes and lighten the increasing

load of litigation faced by the federal courts.” Id.

       8.     Pursuant to Rule 23 (e), in order for a court to approve a class

settlement, it must find that the settlement is fair, reasonable and adequate. See In

re Gen. Motors Corp., 55 F.3d at 785. Fed. R. Civ. P. 23 (e) (“A class action shall not

be dismissed or compromised without the approval of the court, and notice of the

proposed dismissal or compromise shall be given to all members of the class in such

manner as the court directs.”)

       9.     Judicial review of a proposed class settlement generally requires two

hearings: one preliminary approval hearing and one final “fairness” hearing. Gates

v. Rohm and Haas Co., 248 F.R.D. 434, 439 (E.D. Pa. 2008). See also In re American

Investors Life Ins. Co. Annuity Marketing and Sales Practices Litigation, 263

F.R.D. 226 (E.D. Pa. 2009). The preliminary approval decision is not a commitment

approve the final settlement; rather, it is a determination that “there are no obvious

deficiencies and the settlement falls within the range of reason.” Id., citing Smith v.

Professional Billing & Management Services, Inc., 2007 WL 4191749, at *1

(D.N.J.2007) (citing In re Nasdaq Market-Makers Antitrust Litig., 176 F.R.D. 99,




                                          11
      Case 5:10-cv-00804-JKG Document 185-1 Filed 01/27/15 Page 9 of 14




102 (S.D.N.Y.1997); Manual for Complex Litigation, § 21.632 (4th ed.2006)).

“Preliminary approval is not binding, and it is granted unless a proposed settlement

is obviously deficient.” Id. Once the Court preliminarily approves a settlement,

notice of the proposed settlement and the fairness hearing is provided to class

members. At the final “fairness” hearing, class members may formally object to the

proposed settlement.

      10.    The preliminary approval determination requires the Court to consider

whether “(1) the negotiations occurred at arm’s length; (2) there was sufficient

discovery; (3) the proponents of the settlement are experienced in similar litigation;

and (4) only a small fraction of the class objected.” In re Linerboard Antitrust

Litigation, 292 F. Supp. 2d 631, 638 (E.D. Pa. 2003) (citing In re General Motors

Corp. Pick-Up Truck Fuel Tank Products Liability Litigation, 55 F.3d 768, 785-86

(3d Cir. 1995)); see also In re Cendant Corp. Litigation, 264 F.3d 201, 233 n. 18 (3d

Cir. 2001). If, after consideration of those factors, a court concludes that the

settlement should be preliminarily approved, “... an initial presumption of fairness

...” is established. In re Linerboard, 292 F. Supp. 2d at 638 (citing In re Gen. Motors

Corp., 55 F.3d at 785).

      11.    Here,     the   settlement   resulted   from   good   faith,   arms-length

negotiations between adversaries with an understanding of the strengths and

weaknesses of their respective positions in this case. In the four years of litigation

since this case was commenced in 2010, counsel have demonstrated vigorous and

independent lawyering in all respects, and the Court has no reason to doubt that




                                          12
     Case 5:10-cv-00804-JKG Document 185-1 Filed 01/27/15 Page 10 of 14




the same is true with respect to their proposed settlement. The settlement

negotiations included mediation before Magistrate Judge Perkin, an experienced

mediator. In addition, the proponents of the settlement, counsel for the settling

parties, are experienced in class action and similar litigation. Following those

negotiations, and pursuant to the Agreement, those members of the class who

submit an approved Claim Form stand to receive a check in the amount of $278.38:

an amount more than 50% of the statutory damage award a person can receive

under the TCPA, 47 U.S.C. 227 (b) (3).

      Procedurally, the case is at a relatively late stage, as the parties engaged in

substantial discovery and motion practice, and the Court certified a class only after

extensive briefing and an evidentiary hearing. Certainly, the parties conducted

sufficient discovery to estimate the merit and value of the case against Defendants

and reach a reasonable settlement. Further, there are risks attendant to further

litigation in this matter, and substantial delay and expense. The decision to settle is

reasonable in light of the risks of continued litigation. If the parties do not settle

now, the next procedural step is trial. Then, the parties would likely participate in

one or more appeals. Because Defendants have insubstantial assets other than

insurance, and because their insurer (Nationwide) has agreed to put aside its

arguments against coverage in order to resolve the entire controversy, there is

considerable risk for the class in continuing to pursue the claims in this action.

Settlement avoids all of that time, expense, and uncertainty.

      12.    For these reasons, the Court should preliminarily approve the




                                         13
     Case 5:10-cv-00804-JKG Document 185-1 Filed 01/27/15 Page 11 of 14




settlement, so the parties can notify the class about its terms and ascertain whether

any object. Additionally, the parties will notify (or have notified) the various

government officials and they, too, will have an opportunity to object to the

settlement if they choose. CAFA, 28 U.S.C. 1715 (b).

D.    NOTICE

      13.    The Court should approve the parties’ proposed notice and its

dissemination by fax. See Exhibit 2 to the Agreement. Under federal law, notice of

the settlement must satisfy due process. Maher v. Zapata Corp., 714 F. 2d 436, 450-

453 (5th Cir. 1983); Walsh v. Great Atlantic & Pacific Tea Co., 726 F. 2d 956, 963

(3d Cir. 1983). The Court is vested with wide discretion both as to the manner in

which notice is given and the form the notice takes. 7B Charles Alan Wright et al.,

FEDERAL PRACTICE AND PROCEDURE § 1797.6 (3d ed. 2005).

      14.    Rule 23 (e) (1) requires that notice of a settlement be provided “in a

reasonable manner.” Here, the parties have agreed to a reasonable manner of notice

by sending it by fax to the fax numbers involved in this litigation. For any notice

transmission that is unsuccessful after three attempts by facsimile, the Settlement

Administrator will send the notice by mail to the name and address that was

associated with the subject fax number in the 2006 broadcaster’s records, as

specified by Plaintiff’s expert, Robert Biggerstaff. The notice will be sent on or

before March 6, 2015, or otherwise when instructed by the Court. The one-page

Proof of Claim selected by the Court (either Exhibit B or Exhibit C) will be delivered

with the notice, so the class members can claim a share of the settlement funds by




                                       14
      Case 5:10-cv-00804-JKG Document 185-1 Filed 01/27/15 Page 12 of 14




fax or mail as they choose.

      15.    The notice meets the legal standards for appropriate notice and

satisfies Rule 23 (e). The contents are stated clearly and concisely in plain, easily

understood language, and describe: (i) the nature of the action; (ii) the definition of

the class certified; (iii) the class claims, issues, or defenses; (iv) that the court will

exclude from the class any member who requests exclusion; (v) the time and

manner for requesting exclusion; and (vii) the binding effect of a class judgment on

members under Rule 23 (c) (3).

      16.    Therefore, the Court should approve the proposed notice and authorize

its dissemination to the class.

E.    FINAL APPROVAL HEARING

      17.    Finally, Plaintiff requests that the Court schedule a final “fairness”

hearing to provide a forum for the proponents and any opponents of the settlement

to voice opinions or objections about the settlement. The parties’ proposed Final

Order and Judgment is attached as Exhibit 5 to the Agreement. By July 1, 2015,

Plaintiff will submit a brief urging final approval of the settlement pursuant to the

approval standards established by the Third Circuit.

      WHEREFORE, Plaintiff, Hawk Valley, Inc., respectfully requests that the

Court enter a preliminary approval order in the form attached as Exhibit 1 to the

attached Settlement Agreement that: (1) grants preliminary approval to the parties’

proposed settlement; (2) directs the parties to send the class members notice of the

settlement in the form attached as Exhibit 2 to the Agreement by fax or, where fax




                                         15
     Case 5:10-cv-00804-JKG Document 185-1 Filed 01/27/15 Page 13 of 14




fails, by U.S. Mail; (3) selects the Proof of Claim form that the Settlement

Administrator shall send to the class members with that class notice; (4) sets dates

for opt-outs and objections by class members (the parties suggest April 20, 2015);

and (5) schedules the final “fairness” hearing for the date and time previously

scheduled in the Court’s order of January 12, 2015 (Doc. 183), August 6, 2015 at

10:00 o’clock a.m. in Courtroom 4B, Edward N. Cahn United States Courthouse, 504

West Hamilton Street, Allentown, Pennsylvania.

Dated: January 27, 2015               Respectfully submitted,

                                      HAWK VALLEY, INC., individually and as
                                      the representative of a class of similarly-
                                      situated persons

                                      /s/ Alan C. Milstein


Alan C. Milstein                      Phillip A. Bock (pro hac vice)
Sherman, Silverstein, Kohl,           Bock & Hatch, LLC
Rose & Podolsky                       134 N. La Salle St., Suite 1000
308 Harper Drive, Suite 200           Chicago, IL 60602
Moorestown, NJ 08057                  Telephone: 312/658-5500
Telephone: 856/662-0700               phil@bockhatchllc.com
AMilstein@shermansilverstein.com

Brian J. Wanca (pro hac vice)
David M. Oppenheim (pro hac vice)
Anderson + Wanca
3701 Algonquin Road, Ste 760
Rolling Meadows, IL 60008
Telephone: (847) 368-1500




                                      16
     Case 5:10-cv-00804-JKG Document 185-1 Filed 01/27/15 Page 14 of 14




                         CERTIFICATE OF SERVICE

      The undersigned attorney hereby certifies that this brief was filed on
January 27, 2015, using the Court’s CM/ECF system, which automatically serves a
copy on each counsel of record.

                                     /s/ Alan C. Milstein




                                     17
